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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   MICHAEL KASSEM, and KIMBERLEY
   ROWTON, individually and on behalf of all         Case No.
   others similarly situated,

        Plaintiffs,
                                                     CLASS ACTION COMPLAINT
   v.

   PINGORA LOAN SERVICING, LLC and
   PINGORA ASSET MANAGEMENT, LLC,
                                                     JURY TRIAL DEMANDED
        Defendants.




         Plaintiffs Michael Kassem (“Kassem”), and Kimberley Rowton (“Rowton”) (collectively,

“Plaintiffs”), individually and on behalf of all other similarly situated individuals (the “Class

Members,” as defined below), by and through their counsel, file this Class Action Complaint

against Pingora Loan Servicing, LLC and Pingora Asset Management, LLC (collectively,

“Pingora” or “Defendant”) and allege the following based on personal knowledge of facts

pertaining to themselves and on information and belief based on the investigation of counsel as to

all other matters.

                               I.      NATURE OF THE ACTION

         1.      Pingora is a loan servicing provider that performs servicing duties, such as payment

collection, to mortgage lenders. In this role, Pingora collects and stores the personal identifiable

information (“PII”) of thousands of individuals whose mortgages are, or were, serviced by Pingora.

         2.      This class action seeks to redress Pingora’s unlawful, willful and wanton failure to

reasonably protect the sensitive PII of Plaintiffs and Class Members (as defined below), in
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violation of Defendant’s legal obligations. Defendant failed to properly safeguard and protect the

PII in its possession, thereby allowing cybercriminals to steal Plaintiffs and Class Members’

valuable PII from Pingora’s inadequately secured computer network.

           3.        The data breach was discovered in December 2021, when Pingora learned that

unauthorized users had gained access to Pingora’s file servers. 1 Pingora investigated the attack

with the assistance of third-party computer specialists. The investigation confirmed that certain

files on Pingora’s systems had been accessed without authorization between October 27, 2021 and

December 7, 2021 (the “Data Breach” or “Breach”). 2 The forensic investigation further

determined that one or more of the potentially impacted files contained the sensitive PII of

thousands of individuals. 3

           4.        According to Pingora, the exposed PII included names, addresses, Social Security

numbers, loan number, and other unspecified information provided in connection with loan

applications, modifications, or servicing. 4

           5.        Due to Defendant’s negligence, cyber criminals obtained everything they need to

commit identity theft and wreak havoc on the financial and personal lives of thousands of

individuals.

           6.        Plaintiffs have already suffered harm as a result of the Data Breach. Following the

Data Breach, Plaintiff Kassem has had a fraudulent unemployment claim filed in his name. Since

the Data Breach, Plaintiff Rowton has had someone access one of her accounts and transfer money


1
    See Pingora’s letter to Plaintiffs, attached hereto as Exhibits 1-2.
2
    Id.
3
  https://www.iowaattorneygeneral.gov/media/cms/462022_Pingora_Loan_Servicing_LLC_124F8E23630C2.pdff
(last accessed May 2, 2022).
4
    See Exhibit 1.


                                                               2
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from it. These experiences have and will cause these Plaintiffs significant actual damages and a

significant amount of lost time and opportunity.

       7.      For the rest of their lives, Plaintiffs and the Class Members will have to deal with

the danger of identity thieves possessing and misusing their PII. Even those Class Members who

have yet to experience identity theft have to spend time responding to the Breach and are at an

immediate and heightened risk of all manners of identity theft as a direct and proximate result of

the Data Breach. Plaintiffs and Class Members have incurred and will continue to incur damages

in the form of, among other things, identity theft, attempted identity theft, lost time and expenses

mitigating harms, increased risk of harm, damaged credit, deprivation of the value of their PII, loss

of privacy, and/or additional damages as described below.

       8.      Plaintiffs bring this action individually and on behalf of the Class, seeking

compensatory damages, punitive damages, restitution, and injunctive and declaratory relief,

reasonable attorney fees and costs, and all other remedies this Court deems proper.

                                     II.     THE PARTIES

       9.      Plaintiff Kassem is domiciled in and a citizen of Georgia.

       10.     Plaintiff Kimberley Rowton is domiciled in and a citizen of Virginia.

       11.     Pingora Asset Management, LLC and Pingora Loan Servicing, LLC are Limited

Liability Companies are registered in Wilmington, Delaware. Both maintain their principal place

of business at 1819 Wazee Street, 2nd Floor, Denver, Colorado, 80202. Defendants can be served

through their registered agent at: Corporation Service Company, 1900 W. Littleton Blvd.,

Littleton, Colorado 80120.




                                                   3
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                                      III.     JURISDICTION AND VENUE

           12.       This Court has diversity jurisdiction over this action under the Class Action

Fairness Act (CAFA),

           13.       28 U.S.C. § 1332(d), because this is a class action involving more than 100 class

members, the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and many

members of the class are citizens of states different from Defendant.

           14.       This Court has personal jurisdiction over Defendant because its principal place of

business is in this District, it regularly transacts business in this District, and many Class Members

reside in this District. Venue is likewise proper as to Defendant in this District because Defendant

employs a significant number of Class Members in this District, and a substantial part of the events

or omissions giving rise to the claim occurred in this District. 28 U.S.C. § 1391(b)(2); id. at §

1391(f).

                                       IV.       FACTUAL ALLEGATIONS

           A.        The Data Breach

           15.       Based on information supplied by Pingora, the Data Breach was discovered in

December 2021, when Pingora learned that unauthorized users had gained access to Pingora’s file

servers. 5 Pingora investigated the attack with the assistance of third-party computer specialists.

The investigation confirmed that certain files on Pingora’s systems had been accessed without

authorization between October 27, 2021 and December 7, 2021. 6 The forensic investigation




5
    See Pingora’s letter to Plaintiffs, attached hereto as Exhibits 1-2.
6
    Id.


                                                               4
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further determined that one or more of the potentially impacted files contained the sensitive PII of

thousands of individuals. 7

           16.       According to Pingora, the exposed PII included names, addresses, Social Security

numbers, loan number, and other unspecified information provided in connection with loan

applications, modifications, or servicing. 8

           17.       Pingora failed to take the necessary precautions required to safeguard and protect

Plaintiffs’ and the other Class Members’ PII from unauthorized disclosure. Defendant’s actions

represent a flagrant disregard of the rights of its employees, applicants, business associates, and

customers, both as to privacy and property.

           18.       Pingora further failed to provide Plaintiffs and Class Members with timely and

accurate notice of the Data Breach. Instead, it took Pingora four months to warn Plaintiffs and

Class Member of their imminent risk of identity theft. Defendant also failed to notify Plaintiffs

and the Class Members precisely what personal information was compromised, leaving Plaintiffs

and Class Members unsure as to the extent of the information that was exposed.

           B.        Plaintiffs’ Experiences

Plaintiff Kassem

           19.       Upon information and belief, Pingora was responsible for servicing a mortgage loan

that Plaintiff Kassem entered into in or around November 2019. As part of that mortgage loan,

Plaintiff Kassem provided numerous categories of sensitive information likely including his name,

address, telephone number, email address, date of birth, Social Security number, financial account




7
    https://www.iowaattorneygeneral.gov/media/cms/462022_Pingora_Loan_Servicing_LLC_124F8E23630C2.pdf.
8
    See Exhibit 1.


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information, investment account information, information on other loans, employment

information, and income information. 9

            20.    In or around December 2021, Plaintiff Kassem was notified by the Georgia

Department of Labor that someone had filed a fraudulent unemployment claim using his Social

Security number.

            21.    In April 2022, Kassem received a breach notification letter from Pingora informing

him that his personal information, including name, Social Security number, and other unspecified

loan information had been exposed to cybercriminals during the Data Breach. The letter Kassem

received is attached hereto as Exhibit 1.

            22.    Because the Data Breach was an intentional hack by cybercriminals seeking

information of value that they could exploit, Plaintiff Kassem is at imminent and substantial risk

of identity theft that is continuous and ongoing. Indeed, Plaintiff Kassem has already experienced

identity fraud, as discussed above.

            23.    Plaintiff Kassem has spent numerous hours responding to the Data Breach and the

identity theft that has occurred because of it. Among other things, Kassem has spent time

monitoring his accounts and personal information, contacting the Georgia Department of Labor

concerning the fraudulently filed unemployment claim, investigating the scope of the Data Breach,

and taking other steps in an attempt to mitigate the adverse impact of the Data Breach. Due to the

permanent and sensitive nature of some of the PII exposed in the Breach (such as Social Security

numbers), Kassem will be required to continuously monitor his identity and credit for the rest of

his life.

            24.    Kassem has been careful to protect and monitor his identity.



9
    See https://singlefamily.fanniemae.com/media/7896/display (Uniform Residential Loan Application).

                                                         6
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           25.      To his knowledge, Kassem has not been the victim of any other data breach.

Plaintiff Rowton

           26.      Upon information and belief, Pingora was responsible for servicing a mortgage

buyout that Plaintiff Rowton entered into in or around April 2021. As part of that mortgage loan,

Plaintiff Rowton provided numerous categories of sensitive information likely including her name,

address, telephone number, email address, date of birth, Social Security number, financial account

information and statements, investment account information and statements, information and

documentation of other loans, employment information such as W-2s, and income information

such as tax reports. 10

           27.      In or around January 2022, Plaintiff Rowton became aware that someone had used

her PII to access one of her investment accounts and fraudulently transferred money from it.

           28.      In April 2022, Rowton received a breach notification letter from Pingora informing

her that her personal information, including name, Social Security number, and other unspecified

loan information had been exposed to cybercriminals during the Data Breach. The letter Rowton

received is attached hereto as Exhibit 2.

           29.      Because the Data Breach was an intentional hack by cybercriminals seeking

information of value that they could exploit, Plaintiff Rowton is at imminent and substantial risk

of identity theft that is continuous and ongoing. Indeed, Plaintiff Rowton has already experienced

identity fraud, as discussed above.

           30.      Plaintiff Rowton has had to spend significant time responding to the Data Breach,

including time spent monitoring her accounts, contacting customer service for the fraudulently

accessed investment account in an attempt to restore her funds, placing a freeze on all her credit



10
     See https://singlefamily.fanniemae.com/media/7896/display (Uniform Residential Loan Application).

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reports, and otherwise attempting to mitigate the harms of the Breach. Due to the permanent and

sensitive nature of some of the PII exposed in the Breach (such as Social Security numbers),

Rowton will be required to continuously monitor her identity and credit for the rest of her life.

         31.      To Rowton’s knowledge, she has not been the victim of any other data breach.

         32.      Plaintiff Rowton is very worried about the identity fraud she has already

experienced and the significant risk of further identity fraud she now faces.

         C.       Cyber Criminals Have Used and Will Continue to Use Plaintiffs’ PII to
                  Defraud Them

         33.      PII is of great value to hackers and cyber criminals, and the data stolen in the Data

Breach can and will be used in a variety of ways by criminals to exploit Plaintiffs and the Class

Members and to profit off their misfortune.

         34.      Each year, identity theft causes tens of billions of dollars of losses to victims in the

United States. 11 For example, with the PII stolen in the Data Breach, including Social Security

numbers, identity thieves can open financial accounts, apply for credit, file fraudulent tax returns,

commit crimes, create false driver’s licenses and other forms of identification and sell them to

other criminals or undocumented immigrants, steal government benefits, give breach victims’

names to police during arrests, and many other harmful forms of identity theft. 12 These criminal

activities have and will result in devastating financial and personal losses to Plaintiffs and the Class

Members.




11
   “Facts + Statistics: Identity Theft and Cybercrime,” Insurance Info. Inst., https://www.iii.org/fact-statistic/facts-
statistics-identity-theft-and-cybercrime (discussing Javelin Strategy & Research’s report “2018 Identity Fraud:
Fraud Enters a New Era of Complexity”).
12
  See, e.g., Christine DiGangi, 5 Ways an Identity Thief Can Use Your Social Security Number, Nov. 2, 2017,
https://blog.credit.com/2017/11/5-things-an-identity-thief-can-do-with-your-social-security-number-108597/.


                                                            8
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        35.      Social security numbers are particularly sensitive pieces of personal information.

As the Consumer Federation of America explains:

        Social Security number. This is the most dangerous type of personal information
        in the hands of identity thieves because it can open the gate to serious fraud, from
        obtaining credit in your name to impersonating you to get medical services,
        government benefits, your tax refunds, employment – even using your identity in
        bankruptcy and other legal matters. It’s hard to change your Social Security number
        and it’s not a good idea because it is connected to your life in so many ways. 13

        [Emphasis added.]

        36.      PII is such a valuable commodity to identity thieves that once it has been

compromised, criminals will use it for years. 14

        37.      This was a financially motivated Breach, as the only reason the cyber criminals go

through the trouble of running a targeted cyberattack against companies like Pingora is to get

information that they can monetize by selling on the black market for use in the kinds of criminal

activity described herein. Indeed, a social security number, date of birth, and full name can sell

for $60 to $80 on the digital black market. 15 “[I]f there is reason to believe that your personal

information has been stolen, you should assume that it can end up for sale on the dark web.” 16

        38.      These risks are both certainly impending and substantial. As the Federal Trade

Commission (“FTC”) has reported, if hackers get access to PII, they will use it. 17


13
  Dark Web Monitoring: What You Should Know, Consumer Federation of America, Mar. 19, 2019,
https://consumerfed.org/consumer_info/dark-web-monitoring-what-you-should-know/.
14
 Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown, GAO, July 5, 2007, https://www.gao.gov/assets/270/262904.htmlu.
15
  Michael Kan, Here’s How Much Your Identity Goes for on the Dark Web, Nov. 15, 2017,
https://www.pcmag.com/news/heres-how-much-your-identity-goes-for-on-the-dark-web.
16
   Dark Web Monitoring: What You Should Know, Consumer Federation of America, Mar. 19, 2019,
https://consumerfed.org/consumer_info/dark-web-monitoring-what-you-should-know/.
17
  Ari Lazarus, How fast will identity thieves use stolen info?, FED. TRADE COMM’N (May 24, 2017),
https://www.consumer.ftc.gov/blog/2017/05/how-fast-will-identity-thieves-use-stolen-info.


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        39.      Hackers may not use the information right away, but this does not mean it will not

be used. According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches:

        [I]n some cases, stolen data may be held for up to a year or more before being used
        to commit identity theft. Further, once stolen data have been sold or posted on the
        Web, fraudulent use of that information may continue for years. As a result, studies
        that attempt to measure the harm resulting from data breaches cannot necessarily
        rule out all future harm. 18

        40.      For instance, with a stolen social security number, which is part of the PII

compromised in the Data Breach, someone can open financial accounts, get medical care, file

fraudulent tax returns, commit crimes, and steal benefits. 19

        41.      With this Data Breach, and as demonstrated by the identity theft Plaintiffs and other

Class Members have already experienced, identity thieves have already started to prey on the

Pingora breach victims, and we can anticipate that this will continue.

        42.      Identity theft victims like Plaintiffs as well as other Class Members, must spend

countless hours and large amounts of money repairing the impact to their credit as well as

protecting themselves in the future. 20

        43.      Defendant’s offer of one year of identity monitoring to Plaintiffs and the Class is

woefully inadequate and will not fully protect Plaintiffs from the damages and harm caused by its

failures. While some harm has begun already, as several Plaintiffs have already found out, the full

scope of the harm has yet to be realized. There may be a time lag between when harm occurs


18
 Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown, GAO, July 5, 2007, https://www.gao.gov/assets/270/262904.htmlu.
19
   See, e.g., Christine DiGangi, 5 Ways an Identity Thief Can Use Your Social Security Number, Nov. 2, 2017,
https://blog.credit.com/2017/11/5-things-an-identity-thief-can-do-with-your-social-security-number-108597/.
20
  “Guide for Assisting Identity Theft Victims,” Federal Trade Commission, 4 (Sept. 2013),
http://www.consumer.ftc.gov/articles/pdf-0119-guide-assisting-id-theft-victims.pdf.


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versus when it is discovered, and also between when PII is stolen and when it is used. Once the

twelve-months have expired, Plaintiffs and Class Members will need to pay for their own identity

theft protection and credit monitoring for the rest of their lives due to Pingora’s gross negligence.

Furthermore, identity monitoring only alerts someone to the fact that they have already been the

victim of identity theft (i.e., fraudulent acquisition and use of another person’s PII)—it does not

prevent identity theft. 21 Nor can an identity monitoring service remove personal information from

the dark web. 22 “The people who trade in stolen personal information [on the dark web] won’t

cooperate with an identity theft service or anyone else, so it’s impossible to get the information

removed, stop its sale, or prevent someone who buys it from using it.” 23

           44.   As a direct and proximate result of the Data Breach, Plaintiffs and the Class have

suffered actual identity theft, have been damaged, and have been placed at an imminent,

immediate, and continuing increased risk of harm from continued fraud and identity theft.

Plaintiffs and the Class must now take the time and effort to mitigate the actual and potential

impact of the Data Breach on their everyday lives, including placing “freezes” and “alerts” with

credit reporting agencies, contacting their financial institutions, closing or modifying financial

accounts, and closely reviewing and monitoring bank accounts and credit reports for unauthorized

activity for years to come. Even more seriously is the identity restoration that Plaintiffs and other

Class Members must go through, which can include spending countless hours filing police reports,

filling out IRS forms, Federal Trade Commission checklists, Department of Motor Vehicle driver’s




21
  See, e.g., Kayleigh Kulp, Credit Monitoring Services May Not Be Worth the Cost, Nov. 30, 2017,
https://www.cnbc.com/2017/11/29/credit-monitoring-services-may-not-be-worth-the-cost.html.
22
  Dark Web Monitoring: What You Should Know, Consumer Federation of America, Mar. 19, 2019,
https://consumerfed.org/consumer_info/dark-web-monitoring-what-you-should-know/.
23
     Id.

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license replacement applications, and calling financial institutions to cancel fraudulent credit

applications, to name just a few of the steps Plaintiffs and the Class must take.

       45.      Plaintiffs and the Class have suffered, and continue to suffer, actual harms for

which they are entitled to compensation, including:

             a. Actual identity theft, including fraudulent credit inquiries and cards being opened

                in their names;

             b. Trespass, damage to, and theft of their personal property including PII;

             c. Improper disclosure of their PII;
             d. The imminent and certainly impending injury flowing from potential fraud and

                identity theft posed by their PII being placed in the hands of criminals and having

                been already misused;

             e. Loss of privacy suffered as a result of the Data Breach, including the harm of

                knowing cyber criminals have their PII and that identity thieves have already used

                that information to defraud other victims of the Data Breach;

             f. Ascertainable losses in the form of time taken to respond to identity theft and

                attempt to restore identity, including lost opportunities and lost wages from

                uncompensated time off from work;

             g. Ascertainable losses in the form of out-of-pocket expenses and the value of their

                time reasonably expended to remedy or mitigate the effects of the Data Breach;

             h. Ascertainable losses in the form of deprivation of the value of Plaintiffs’ and Class

                members’ personal information for which there is a well-established and

                quantifiable national and international market;

             i. The loss of use of and access to their credit, accounts, and/or funds;

             j. Damage to their credit due to fraudulent use of their PII; and

             k. Increased cost of borrowing, insurance, deposits, and the inability to secure more

                favorable interest rates because of a reduced credit score.

                                                    12
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        46.      Below is a chart that shows the kinds of expenses and disruptions that victims of

identity theft experience 24:




        47.      Moreover, Plaintiffs and Class Members have an interest in ensuring that their

information, which remains in the possession of Defendant, is protected from further breaches by

the implementation of industry standard security measures and safeguards. Defendant has shown

itself wholly incapable of protecting Plaintiffs’ PII.

        48.      Plaintiffs and Class Members also have an interest in ensuring that their personal

information that was provided to Pingora years ago is removed from all Pingora servers, and

especially from Pingora’s unencrypted files.




24
  Jason Steele, Credit Card and ID Theft Statistics, CREDITCARDS.COM (Oct. 24, 2017),
https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-1276.php.

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           49.       Defendant itself acknowledged the harm caused by the Data Breach because it

offered Plaintiffs and Class Members the woefully inadequate twelve months of identity theft

repair and monitoring services. Twelve months of identity theft and repair and monitoring is,

however, inadequate to protect Plaintiffs and Class Members from a lifetime of identity theft risk. 25

           50.       Defendant further acknowledged, in its letter to Plaintiffs and other Class Members,

that Pingora needed to improve its security protocols, stating: “Pingora has implemented additional

cybersecurity measures to further protect against similar incidents moving forward.” 26

           51.       The letter further acknowledged that the Data Breach would cause inconvenience

to affected individuals and that financial harm would likely occur, stating: “We are notifying

potentially impacted individuals, including you, so that you may take steps to protect your

information. . . . We encourage you to remain vigilant against incidents of identity theft and fraud

by reviewing your account statements and monitoring your free credit reports for suspicious

activity and to detect errors.”

           52.       At Pingora’s suggestion, Plaintiffs are desperately trying to mitigate the damage

that Pingora has caused them. Given the kind of PII Pingora made accessible to hackers, however,

Plaintiffs are certain to incur additional damages. Because identity thieves have their PII, Plaintiffs

and all Class Members will need to have identity theft monitoring protection for the rest of their

lives. Some may even need to go through the long and arduous process of getting a new Social

Security number, with all the loss of credit and employment difficulties that come with a new

number. 27


25
     See Exhibit 1, attached hereto.
26
     Id.
27
  Will a New Social Security Number Affect Your Credit?, LEXINGTON LAW (Nov. 16, 2015),
https://www.lexingtonlaw.com/blog/credit-101/will-a-new-social-security-number-affect-your-credit.html.


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        53.      None of this should have happened.

        D.       Defendant was Aware of the Risk of Cyber Attacks

        54.      Data security breaches have dominated the headlines for the last two decades. And

it doesn’t take an IT industry expert to know it. The general public can tell you the names of some

of the biggest cybersecurity breaches: Target, 28 Yahoo, 29 Marriott International, 30 Chipotle,

Chili’s, Arby’s, 31 and others. 32

        55.      Pingora as a service provider for mortgage loans, which requires collecting and

maintaining highly sensitive and valuable PII, should certainly have been aware, and indeed was

aware, that it was at risk for a data breach that could expose the PII that it collected and maintained.

        56.      With the increasing prevalence of data breach announcements, Pingora certainly

recognized it had a duty to use reasonable measures to protect the wealth of PII that it collected

and maintained.

        57.      Pingora was clearly aware of the risks it was taking and the harm that could result

from inadequate data security.




28
   Michael Kassner, Anatomy of the Target Data Breach: Missed Opportunities and Lessons Learned, ZDNET (Feb.
2, 2015), https://www.zdnet.com/article/anatomy-of-the-target-data-breach-missed-opportunities-and-lessons-
learned/.
29
  Martyn Williams, Inside the Russian Hack of Yahoo: How They Did It, CSOONLINE.COM (Oct. 4, 2017),
https://www.csoonline.com/article/3180762/inside-the-russian-hack-of-yahoo-how-they-did-it.html.
30
  Patrick Nohe, The Marriot Data Breach: Full Autopsy, THE SSL STORE: HASHEDOUT (Mar. 22, 2019),
https://www.thesslstore.com/blog/autopsying-the-marriott-data-breach-this-is-why-insurance-matters/.
31
  Alfred Ng, FBI Nabs Alleged Hackers in Theft of 15M Credit Cards from Chipotle, Others, CNET (Aug. 1, 2018),
https://www.cnet.com/news/fbi-nabs-alleged-hackers-in-theft-of-15m-credit-cards-from-chipotle-
others/?ftag=CMG-01-10aaa1b.
32
  See, e.g., Taylor Armerding, The 18 Biggest Data Breaches of the 21st Century, CSO ONLINE (Dec. 20, 2018),
https://www.csoonline.com/article/2130877/the-biggest-data-breaches-of-the-21st-century.html.


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             E.     PINGORA COULD HAVE PREVENTED THE DATA BREACH

             58.    Data breaches are preventable. 33 As Lucy Thompson wrote in the DATA BREACH

AND        ENCRYPTION HANDBOOK, “In almost all cases, the data breaches that occurred could have

been prevented by proper planning and the correct design and implementation of appropriate

security solutions.” 34 She added that “[o]rganizations that collect, use, store, and share sensitive

personal data must accept responsibility for protecting the information and ensuring that it is not

compromised . . . .” 35

             59.    “Most of the reported data breaches are a result of lax security and the failure to

create or enforce appropriate security policies, rules, and procedures. . . . Appropriate information

security controls, including encryption, must be implemented and enforced in a rigorous and

disciplined manner so that a data breach never occurs.” 36

             60.    In a Data Breach like this, many failures laid the groundwork for the Breach. The

FTC has published guidelines that establish reasonable data security practices for businesses. The

FTC guidelines emphasize the importance of having a data security plan, regularly assessing risks

to computer systems, and implementing safeguards to control such risks. 37 The guidelines

establish that businesses should protect the confidential information that they keep; properly

dispose of personal information that is no longer needed; encrypt information stored on computer



33
  Lucy L. Thomson, “Despite the Alarming Trends, Data Breaches Are Preventable,” in DATA BREACH AND
ENCRYPTION HANDBOOK (Lucy Thompson, ed., 2012).
34
     Id. at 17.
35
     Id. at 28.
36
     Id.

37
   FTC, Protecting Personal Information: A Guide for Business, https://www.ftc.gov/system/files/documents/plain-
language/pdf-0136_proteting-personal-information.pdf.


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networks; understand their network’s vulnerabilities; and implement policies for installing vendor-

approved patches to correct security problems. The guidelines also recommended that businesses

utilize an intrusion detection system to expose a breach as soon as it occurs; monitor all incoming

traffic for activity indicating hacking attempts; watch for large amounts of data being transmitted

from the system; and have a response plan ready in the event of a breach.

       61.      Upon information and belief, Pingora failed to maintain many reasonable and

necessary industry standards necessary to prevent a data breach, including the FTC’s guidelines.

Upon information and belief, Pingora also failed to meet the minimum standards of any of the

following frameworks: the NIST Cybersecurity Framework, NIST Special Publications 800-53,

53A, or 800-171; the Federal Risk and Authorization Management Program (FEDRAMP); or the

Center for Internet Security’s Critical Security Controls (CIS CSC), which are well respected

authorities in reasonable cybersecurity readiness.

       62.      As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.” 38

       63.      To prevent and detect malware attacks, including the malware attack that resulted

in the Data Breach, Defendant could and should have implemented, as recommended by the

Federal Bureau of Investigation, the following measures:

       •     Implement an awareness and training program. Because end users are targets,
             employees and individuals should be aware of the threat of ransomware and
             how it is delivered.

       •     Enable strong spam filters to prevent phishing emails from reaching the end
             users and authenticate inbound email using technologies like Sender Policy
             Framework (SPF), Domain Message Authentication Reporting and
             Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to prevent
             email spoofing.

38
   See How to Protect Your Networks from RANSOMWARE, at 3, available at https://www.fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view.

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            •      Scan all incoming and outgoing emails to detect threats and filter executable
                   files from reaching end users.

            •      Configure firewalls to block access to known malicious IP addresses.

            •      Patch operating systems, software, and firmware on devices. Consider using a
                   centralized patch management system.

            •      Set anti-virus and anti-malware programs to conduct regular scans
                   automatically.

            •      Manage the use of privileged accounts based on the principle of least privilege:
                   no users should be assigned administrative access unless absolutely needed; and
                   those with a need for administrator accounts should only use them when
                   necessary.

            •      Configure access controls—including file, directory, and network share
                   permissions—with least privilege in mind. If a user only needs to read specific
                   files, the user should not have write access to those files, directories, or shares.
            •      Disable macro scripts from office files transmitted via email. Consider using
                   Office Viewer software to open Microsoft Office files transmitted via email
                   instead of full office suite applications.

            •      Implement Software Restriction Policies (SRP) or other controls to prevent
                   programs from executing from common ransomware locations, such as
                   temporary    folders  supporting     popular    Internet   browsers     or
                   compression/decompression programs, including the AppData/LocalAppData
                   folder.

            •      Consider disabling Remote Desktop protocol (RDP) if it is not being used.

            •      Use application whitelisting, which only allows systems to execute programs
                   known and permitted by security policy.

            •      Execute operating system environments or specific programs in a virtualized
                   environment.

            •      Categorize data based on organizational value and implement physical and
                   logical separation of networks and data for different organizational units. 39




39
     Id. at 3-4.

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        64.       Further, to prevent and detect malware attacks, including the malware attack that

resulted in the Data Breach, Defendant could and should have implemented, as recommended by

the United States Cybersecurity & Infrastructure Security Agency, the following measures:

        •     Update and patch your computer. Ensure your applications and operating
              systems (OSs) have been updated with the latest patches. Vulnerable
              applications and OSs are the target of most ransomware attacks….

        •     Use caution with links and when entering website addresses. Be careful
              when clicking directly on links in emails, even if the sender appears to be
              someone you know. Attempt to independently verify website addresses (e.g.,
              contact your organization's helpdesk, search the internet for the sender
              organization’s website or the topic mentioned in the email). Pay attention to the
              website addresses you click on, as well as those you enter yourself. Malicious
              website addresses often appear almost identical to legitimate sites, often using
              a slight variation in spelling or a different domain (e.g., .com instead of .net)….

        •     Open email attachments with caution. Be wary of opening email attachments,
              even from senders you think you know, particularly when attachments are
              compressed files or ZIP files.

        •     Keep your personal information safe. Check a website’s security to ensure
              the information you submit is encrypted before you provide it….

        •     Verify email senders. If you are unsure whether or not an email is legitimate,
              try to verify the email’s legitimacy by contacting the sender directly. Do not
              click on any links in the email. If possible, use a previous (legitimate) email to
              ensure the contact information you have for the sender is authentic before you
              contact them.

        •     Inform yourself. Keep yourself informed about recent cybersecurity threats
              and up to date on ransomware techniques. You can find information about
              known phishing attacks on the Anti-Phishing Working Group website. You
              may also want to sign up for CISA product notifications, which will alert you
              when a new Alert, Analysis Report, Bulletin, Current Activity, or Tip has been
              published.

        •     Use and maintain preventative software programs. Install antivirus
              software, firewalls, and email filters—and keep them updated—to reduce
              malicious network traffic…. 40


40
  See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11, 2019), available at
https://us-cert.cisa.gov/ncas/tips/ST19-001.

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       65.          In addition, to prevent and detect ransomware attacks, including the ransomware

attack that resulted in the Data Breach, Defendant could and should have implemented, as

recommended by the Microsoft Threat Protection Intelligence Team, the following measures:

       •     Secure internet-facing assets

                -         Apply latest security updates
                -         Use threat and vulnerability management
                -         Perform regular audit; remove privileged credentials

       •     Thoroughly investigate and remediate alerts

                -         Prioritize and treat commodity malware infections as potential full
                          compromise;

       •     Include IT Pros in security discussions

                -         Ensure collaboration among [security operations], [security
                          admins], and [information technology] admins to configure servers
                          and other endpoints securely;

       •     Build credential hygiene

                -      Use [multifactor authentication] or [network level authentication]
                       and use strong, randomized, just-in-time local admin passwords
       •     Apply principle of least-privilege

                -         Monitor for adversarial activities
                -         Hunt for brute force attempts
                -         Monitor for cleanup of Event Logs
                -         Analyze logon events

       •     Harden infrastructure

                -         Use Windows Defender Firewall
                -         Enable tamper protection
                -         Enable cloud-delivered protection
                -         Turn on attack surface reduction rules and [Antimalware Scan
                          Interface] for Office [Visual Basic for Applications]. 41


41
    See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-preventable-
disaster/.

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        66.       Given that Defendant was storing the PII of thousands of individuals, Defendant

could and should have implemented all of the above measures to prevent and detect ransomware

attacks.

        67.      Specifically, among other failures, Pingora had far too much confidential

unencrypted information held on its systems. Such PII should have been segregated into an

encrypted system. 42

        68.      Moreover, it is well-established industry standard practice for a business to dispose

of confidential PII once it is no longer needed. The FTC, among others, has repeatedly emphasized

the importance of disposing unnecessary PII, saying simply: “Keep sensitive data in your system

only as long as you have a business reason to have it. Once that business need is over, properly

dispose of it. If it’s not on your system, it can’t be stolen by hackers.” 43 Pingora, rather than

following this basic standard of care, kept tens of thousands of former employees’, applicants,

business associates’, and customers’ unencrypted PII indefinitely. As a result, individuals who had

stopped associating with Pingora several years earlier had their PII exposed in the Data Breach.

This greatly expanded the number of victims harmed in the Breach.

        69.      In sum, this Data Breach could have readily been prevented through the use of

industry standard network segmentation and encryption of all PII. Further, the scope of the Data

Breach could have been dramatically reduced had Pingora utilized proper record retention and

destruction practices.

        F.       Pingora’s Response to the Data Breach is Inadequate to Protect
                 Plaintiffs and the Class

42
   See, e.g., Adnan Raja, How to Safeguard Your Business Data with Encryption, Aug. 14, 2018,
https://digitalguardian.com/blog/how-safeguard-your-business-data-encryption.
43
  FTC, Protecting Personal Information: A Guide for Business, https://www.ftc.gov/system/files/documents/plain-
language/pdf-0136_proteting-personal-information.pdf at p. 6.


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       70.     Pingora failed to inform Plaintiffs and Class Members of the Data Breach in time

for them to protect themselves from identity theft.

       71.     Pingora stated that it discovered the Data Breach in August 2020. And yet, Pingora

did not start notifying affected individuals until August 6, 2021—a full year after it learned of the

Data Breach. Even then, Pingora failed to inform Plaintiffs and Class Members exactly what

information was exposed in the Data Breach, leaving Plaintiffs and Class Members unsure as to

the scope of information that was compromised.

       72.     During these intervals, the cybercriminals were exploiting the information while

Pingora was secretly still investigating the Data Breach.         For example, while Pingora was

investigating the Breach, and had not notified impacted individuals, identity thieves had already

begun stealing benefits by using the stolen names and Social Security numbers of breach victims,

including Plaintiff Kassem who had an unemployment claim opened in his name shortly after the

Data Breach.

       73.     If Pingora had investigated the Data Breach more diligently and reported it sooner,

the damages could have been mitigated.

                                    V.      CHOICE OF LAW

       74.     Colorado has a significant interest in regulating the conduct of businesses operating

within its borders. Colorado seeks to protect the rights and interests of citizens of the United States

against a company headquartered and doing business in in its borders. Colorado has a greater

interest in the nationwide claims of Plaintiffs and members of the Class (defined below) than any

other state and is most intimately concerned with the claims and outcome of this litigation.

       75.     The corporate headquarters of Pingora, located in Denver, Colorado is the “nerve

center” of its business activities – the place where its high-level officers direct, control, and

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coordinate the company’s activities, including its data security functions and major policy,

financial, and legal decisions.

       76.     Defendant’s response to the Data Breach at issue here, and the corporate decisions

surrounding such response, were made from and in Colorado.

       77.     Defendant’s breaches of duty to Plaintiffs and Class members emanated from

Colorado

       78.     Application of the Colorado law to the Class with respect to Plaintiffs’ and Class

Members’ claims is neither arbitrary nor fundamentally unfair because Defendant has significant

contacts and a significant aggregation of contacts that create interest in the claims of Plaintiffs and

the Class.

       79.     Under Colorado’s choice of law principles, which are applicable to this action, the

common law of Colorado applies to the nationwide common law claims of all Class Members.

                           VI.     CLASS ACTION ALLEGATIONS

       80.      Plaintiffs incorporate by reference all preceding paragraphs as if fully restated here.

       81.     Plaintiffs bring this action against Pingora on behalf of themselves and all other

individuals similarly situated under Federal Rule of Civil Procedure 23. Plaintiffs assert all claims

on behalf of a nationwide class (the “Class”) defined as follows:

       All persons whose personal identifiable information was compromised as a result
       of the Data Breach at Pingora between October 27, 2021 and December 7, 2021.

       82.     Excluded from the Class are Defendant, any entity in which Defendant has a

controlling interest, and Defendant’s officers, directors, legal representatives, successors,

subsidiaries, and assigns. Also excluded from the Class is any judge, justice, or judicial officer

presiding over this matter and members of their immediate families and judicial staff.




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          83.     Plaintiffs reserve the right to amend the above definition or to propose subclasses

in subsequent pleadings and motions for class certification.

          84.     The proposed Class meets the requirements of Fed. R. Civ. P. 23(a), (b)(1), (b)(2),

(b)(3), and (c)(4).

          85.     Numerosity: The proposed Class is so numerous that joinder of all members is

impracticable. Defendant has reported to the Iowa General’s Office that the number of Iowans

affected in the Data Breach was 9,817 individuals 44 and this does not include the affected

individuals from other states.

          86.     Typicality: Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs and

all members of the Class were injured through Pingora’s uniform misconduct. The same event and

conduct that gave rise to Plaintiffs’ claims are identical to those that give rise to the claims of every

other Class member because Plaintiffs and each member of the Class had their sensitive PII

compromised in the same way by the same conduct of Pingora.

          87.     Adequacy: Plaintiffs are adequate representatives of the Class because Plaintiffs’

interests do not conflict with the interests of the Class; Plaintiffs have retained counsel competent

and highly experienced in data breach class action litigation; and Plaintiffs and Plaintiffs’ counsel

intend to prosecute this action vigorously. The interests of the Class will be fairly and adequately

protected by Plaintiffs and their counsel.

          88.     Superiority: A class action is superior to other available means of fair and efficient

adjudication of the claims of Plaintiffs and the Class. The injury suffered by each individual class

member is relatively small in comparison to the burden and expense of individual prosecution of

complex and expensive litigation. It would be very difficult if not impossible for members of the



44
     https://www.iowaattorneygeneral.gov/media/cms/462022_Pingora_Loan_Servicing_LLC_124F8E23630C2.pdf.

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Class individually to effectively redress Pingora’s wrongdoing. Even if Class members could

afford such individual litigation, the court system could not. Individualized litigation presents a

potential for inconsistent or contradictory judgments. Individualized litigation increases the delay

and expense to all parties, and to the court system, presented by the complex legal and factual

issues of the case. By contrast, the class action device presents far fewer management difficulties

and provides benefits of single adjudication, economy of scale, and comprehensive supervision by

a single court.

       89.        Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiffs and the other members of the Class, and those questions

predominate over any questions that may affect individual members of the Class. Common

questions for the Class include:

             a. Whether Defendant engaged in the wrongful conduct alleged herein;

             b. Whether Defendant failed to adequately safeguard Plaintiffs’ and the Class’s PII;

             c. Whether Defendant owed a duty to Plaintiffs and the Class to adequately protect

                  their PII, and whether it breached this duty;

             d. Whether Pingora breached its duties to Plaintiffs and the Class as a result of the

                  Data Breach;

             e. Whether Pingora failed to provide adequate cyber security;

             f. Whether Pingora knew or should have known that its computer and network

                  security systems were vulnerable to cyber attacks;

             g. Whether Pingora’s conduct, including its failure to act, resulted in or was the

                  proximate cause of the breach of its company network;




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             h. Whether Pingora was negligent in permitting unencrypted PII off vast numbers of

                individuals to be stored within its network;

             i. Whether Pingora was negligent in failing to adhere to reasonable retention policies,

                thereby greatly increasing the size of the Data Breach to include former employees

                and business associates;

             j. Whether Pingora breached implied contractual duties to Plaintiffs and the Class to

                use reasonable care in protecting their PII;

             k. Whether Pingora failed to adequately respond to the Data Breach, including failing

                to investigate it diligently and notify affected individuals in the most expedient time

                possible and without unreasonable delay, and whether this caused damages to

                Plaintiffs and the Class;

             l. Whether Pingora continues to breach duties to Plaintiffs and the Class;

             m. Whether Plaintiffs and the Class suffered injury as a proximate result of Pingora’s

                negligent actions or failures to act;

             n. Whether Plaintiffs and the Class are entitled to recover damages, equitable relief,

                and other relief; and

             o. Whether Pingora’s actions alleged herein constitute gross negligence, and whether

                Plaintiffs and Class Members are entitled to punitive damages.

                                  VII.      CAUSES OF ACTION

                                    FIRST CAUSE OF ACTION
                                          NEGLIGENCE
                              (On Behalf of Plaintiffs and the Class)

       90.      Plaintiffs incorporate by reference all preceding factual allegations as though fully

alleged here.

       91.      Defendant Pingora solicited, gathered, and stored the PII of Plaintiffs and the Class.
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       92.     Defendant had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiffs and Class Members could and would suffer if the PII were wrongfully disclosed.

Defendant had a duty to Plaintiffs and each Class Member to exercise reasonable care in holding,

safeguarding, and protecting that information. Plaintiffs and the Class Members were the

foreseeable victims of any inadequate safety and security practices. Plaintiffs and the Class

Members had no ability to protect their PII that was in Pingora’s possession. As such, a special

relationship existed between Pingora and Plaintiffs and the Class.

       93.     Defendant was well aware of the fact that cyber criminals routinely target

corporations through cyberattacks in an attempt to steal the PII of employees, applicants, business

associates, and customers.

       94.     Defendant owed Plaintiffs and the Class Members a common law duty to use

reasonable care to avoid causing foreseeable risk of harm to Plaintiffs and the Class when

obtaining, storing, using, and managing personal information, including taking action to

reasonably safeguard such data and providing notification to Plaintiffs and the Class Members of

any breach in a timely manner so that appropriate action could be taken to minimize losses.

       95.     Defendant’s duty extended to protecting Plaintiffs and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts § 302B.

       96.     Defendant had duties to protect and safeguard the PII of Plaintiffs and the Class

from being vulnerable to cyberattacks, including by encrypting any document or report containing

PII, by not permitting documents containing unencrypted PII to be maintained on its systems, and


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other similarly common-sense precautions when dealing with sensitive PII. Additional duties that

Pingora owed Plaintiffs and the Class include:

             a. To exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting

                and protecting the PII in its possession;

             b. To protect the PII in its possession using reasonable and adequate security

                procedures and systems;

             c. To adequately and properly audit and test its systems;

             d. To adequately and properly audit, test, and train its employees regarding how to

                properly and securely transmit and store PII;

             e. To train its employees not to store PII for longer than absolutely necessary;

             f. To implement processes to quickly detect a data breach, security incident, or

                intrusion; and

             g. To promptly notify Plaintiffs and Class Members of any data breach, security

                incident, or intrusion that affected or may have affected their PII.

       97.       Plaintiffs and the Class were the intended beneficiaries of Defendant’s duties,

creating a special relationship between them and Pingora. Defendant was in a position to ensure

that its systems were sufficient to protect the PII that Plaintiffs and the Class had entrusted to it.

       98.      Defendant breached its duties of care by failing to adequately protect Plaintiffs’ and

Class Members’ PII. Defendant breached its duties by, among other things:

             a. Failing to exercise reasonable care in obtaining, retaining securing, safeguarding,

                deleting, and protecting the PII in its possession;

             b. Failing to protect the PII in its possession using reasonable and adequate security

                procedures and systems;

             c. Failing to adequately and properly audit and test its computer systems to avoid

                cyberattacks;
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             d. Failing to adequately and properly audit, test, and train its employees regarding

                how to properly and securely transmit and store PII, including maintaining PII in

                an encrypted format;

             e. Failing to adequately and properly train its employees not to store PII for longer

                than absolutely necessary;

             f. Failing to consistently enforce security policies aimed at protecting Plaintiffs and

                the Class’s PII;

             g. Failing to implement processes to quickly detect data breaches, security incidents,

                or intrusions;

             h. Failing to abide by reasonable retention and destruction policies for PII of former

                employees, applicants, business associates, and customers; and

             i. Failing to promptly and accurately notify Plaintiffs and Class Members of the Data

                Breach that affected their PII.

       99.      Defendant’s willful failure to abide by these duties was wrongful, reckless, and

grossly negligent in light of the foreseeable risks and known threats.

       100.     As a proximate and foreseeable result of Defendant’s grossly negligent conduct,

Plaintiffs and the Class have suffered damages and are at imminent risk of additional harms and

damages (as alleged above).

       101.     The damages Plaintiffs and the Class have suffered (as alleged above) were and are

reasonably foreseeable.

       102.     The damages Plaintiffs and the Class have and will suffer were and are the direct

and proximate result of Defendant’s grossly negligent conduct.




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       103.     Plaintiffs and the Class have suffered injury, including as described in Section IV.C,

supra, and are entitled to actual and punitive damages in an amount to be proven at trial.

                                   SECOND CAUSE OF ACTION
                                 BREACH OF IMPLIED CONTRACT
                              (On Behalf of Plaintiffs and the Class)

       104.     Plaintiffs incorporate by reference all preceding factual allegations as though fully

alleged here.

       105.     Plaintiffs’ and Class Members’ PII was provided to Defendant as a condition of

their mortgage loans.

       106.     When Plaintiffs and Class Members provided their PII to Defendant as part of their

mortgage loan servicing, they entered into implied contracts in which Defendant agreed to comply

with its statutory and common law duties to protect their PII and to timely notify them in the event

of a Data Breach.

       107.     Based on Defendant’s legal obligations and acceptance of Plaintiffs’ and the Class

Members’ PII, Defendant had an implied duty to safeguard their PII through the use of reasonable

industry standards.

       108.     Defendant breached the implied contracts by failing to safeguard Plaintiffs’ and

Class Members’ PII and failing to provide them with timely and accurate notice of the Data Breach.

Indeed, it took Pingora approximately four months to warn Plaintiffs and Class Member of their

imminent risk of identity theft. Defendant also failed to notify Plaintiffs and the Class Members

precisely what personal information was compromised, leaving Plaintiffs and Class Members

unsure as to the extent of the information that was exposed.

       109.     As a direct and proximate result of Defendant’s breach of implied contract,

Plaintiffs and the Class Members have suffered damages, including foreseeable consequential

damages that Defendant knew about when it requested Plaintiffs’ and the Class Members’ PII.
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         110.   Plaintiffs and the Class have suffered injury, including as described in Section IV.C,

supra, and are entitled to actual and punitive damages, statutory damages, and reasonable

attorneys’ fees and costs, in an amount to be proven at trial.

                                    THIRD CAUSE OF ACTION
                                     UNJUST ENRICHMENT
                              (On Behalf of Plaintiffs and the Class)

         111.   Plaintiffs incorporate by reference all preceding factual allegations as though fully

alleged here.

         112.   Plaintiffs allege this claim in the alternative to its breach of implied contract claim.

         113.   Plaintiffs, and other Class Members, conferred a monetary benefit on Defendant by

providing Defendant with profits from the servicing of Plaintiffs’ and Class Members’ mortgage

loans.

         114.   Defendant appreciated that a monetary benefit was being conferred upon it by

Plaintiffs and Class Members and accepted that monetary benefit.

         115.   However, acceptance of the benefit under the facts and circumstances outlined

above make it inequitable for Defendant to retain that benefit without payment of the value thereof.

Specifically, Defendant enriched itself by saving the costs they reasonably should have expended

on data security measures to secure Plaintiffs’ and Class Members’ PII. Instead of providing a

reasonable level of security that would have prevented the Data Breach, Defendant instead

calculated to increase its own profits at the expense of Plaintiffs and Class Members by utilizing

cheaper, ineffective security measures. Plaintiffs and Class Members, on the other hand, suffered

as a direct and proximate result of Defendant’s decision to prioritize its own profits over the

requisite data security.




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       116.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the monetary benefit belonging to Plaintiffs and Class Members, because

Defendant failed to implement appropriate data management and security measures.

       117.    Defendant acquired the PII through inequitable means in that it failed to disclose

the inadequate security practices previously alleged.

       118.    If Plaintiffs and Class Members knew that Defendant had not secured their PII, they

would not have agreed to provide their PII to Defendant.

       119.    Plaintiffs and Class Members have no adequate remedy at law. As a direct and

proximate result of Defendant’s conduct, Plaintiffs and Class Members have suffered or will suffer

injury, including but not limited to: (i) actual identity theft; (ii) the loss of the opportunity how

their PII is used; (iii) the compromise, publication, and/or theft of their PII; (iv) out-of-pocket

expenses associated with the prevention, detection, and recovery from identity theft, and/or

unauthorized use of their PII; (v) lost opportunity costs associated with effort expended and the

loss of productivity addressing and attempting to mitigate the actual and future consequences of

the Data Breach, including but not limited to efforts spent researching how to prevent, detect,

contest, and recover from identity theft; (vi) the continued risk to their PII, which remain in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect PII in their continued possession;

and (vii) future costs in terms of time, effort, and money that will be expended to prevent, detect,

contest, and repair the impact of the PII compromised as a result of the Data Breach for the

remainder of the lives of Plaintiffs and Class Members.

       120.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.


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       121.     Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiffs and Class Members, all gains that they unjustly received.

                                  FOURTH CAUSE OF ACTION
                                     NEGLIGENCE PER SE
                            (On Behalf of all Plaintiffs and the Class)
       122.     Plaintiffs incorporate by reference all preceding factual allegations as though fully

alleged here.

       123.     Pursuant to the Federal Trade Commission Act (15 U.S.C. § 45), Defendant had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiffs’ and Class Members’ PII.

       124.     Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

Defendant, of failing to use reasonable measures to protect PII. The FTC publications and orders

also form part of the basis of Defendant’s duty in this regard.

       125.     Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect consumers PII and not complying with applicable industry standards, as described in

detail herein. Defendant’s conduct was particularly unreasonable given the nature and amount of

PII it obtained and stored, and the foreseeable consequences of a data breach including,

specifically, the damages that would result to Plaintiffs and Class Members.

       126.     Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se as

Defendant’s violation of the FTC Act establishes the duty and breach elements of negligence.

       127.     Plaintiffs and Class Members are within the class of persons that the FTC Act was

intended to protect.

       128.     The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

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which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiffs and the Class.

       129.    In addition, Defendant’s conduct violated Colo. Rev. Stat. § 6-1-713.5. Colo. Rev.

Stat. § 6-1-713.5 requires commercial entities who maintain, own, or license “personal identifying

information of an individual residing in the state” to “implement and maintain reasonable security

procedures and practices that are appropriate to the nature of the personal identifying information

and the nature and size of the business and its operations.”

       130.    Defendant failed to comply with Colo. Rev. Stat. § 6-1-713.5. Specifically,

Defendant voluntarily undertook the act of maintaining and storing Plaintiffs’ PII, but Defendant

failed to implement safety and security procedures and practices sufficient to protect from the data

breach that it should have anticipated. Defendant should have known and anticipated that data

breaches—especially breaches involving valuable information like mortgage loan data—were on

the rise, and that mortgage banking institutions were lucrative or likely targets of cybercriminals

looking to steal PII. As such, Defendant should have implemented and maintained procedures and

practices appropriate to the nature and scope of information compromised in the data breach.

       131.    Plaintiffs and Class Members are within the class of persons that Colo. Rev. Stat. §

6-1-713.5 was intended to protect.

       132.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

       133.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiffs

and Class Members, Plaintiffs and Class Members would not have been injured.

       134.    The injury and harm suffered by Plaintiffs and Class Members was the reasonably

foreseeable result of Defendant’s breach of their duties. Defendant knew or should have known


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that they were failing to meet their duties, and that Defendant’s breach would cause Plaintiffs and

Class Members to experience the foreseeable harms associated with the exposure of their PII.

          135.   As a direct and proximate result of Defendant’s negligent conduct, Plaintiffs and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.

                                    FIFTH CAUSE OF ACTION
                              INJUNCTIVE AND DECLARATORY RELIEF
                             (On Behalf of all Plaintiffs and the Class)
       136.      Plaintiffs incorporate by reference all preceding factual allegations as though fully

alleged here.

       137.      This count is brought under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201.

       138.      As previously alleged and pleaded, Defendant owes duties of care to Plaintiffs and

Class Members that requires it to adequately secure their PII.

       139.      Defendant still possesses the PII of Plaintiffs and the Class Members.

       140.      Defendant has not satisfied its contractual obligations and legal duties to Plaintiffs

and the Class Members.

       141.      Defendant has claimed that it is taking some steps to increase its data security, but

there is nothing to prevent Defendant from reversing these changes once it has weathered the

increased public attention resulting from this Breach, and to once again place profits above

protection.

       142.      Plaintiffs, therefore, seek a declaration (1) that Defendant’s existing security

measures do not comply with its contractual obligations and duties of care to provide adequate

security, and (2) that to comply with its contractual obligations and duties of care, Defendant must

implement and maintain reasonable security measures, including, but not limited to:

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            a. Ordering Defendant to engage third-party security auditors/penetration testers

               as well as internal security personnel to conduct testing, including simulated

               attacks, penetration tests, and audits on Defendant’s systems on a periodic basis,

               and ordering Defendant to promptly correct any problems or issues detected by

               such third-party security auditors;

            b. Ordering Defendant to significantly increase its spending on cybersecurity

               including systems and personnel;

            c. Ordering Defendant to engage third-party security auditors and internal

               personnel to run automated security monitoring;

            d. Ordering that Defendant audit, test, and train their security personnel regarding

               any new or modified procedures;

            e. Ordering that Defendant’s segment Plaintiffs’ and the Class’s PII by, among

               other things, creating firewalls and access controls so that if one area of

               Defendant’s systems is compromised, hackers cannot gain access to other

               portions of Defendant’s systems;

            f. Ordering that Defendant cease storing unencrypted PII on its systems;

            g. Ordering that Defendant conduct regular database scanning and securing

               checks;

            h. Ordering Defendant to routinely and continually conduct internal training and

               education to inform internal security personnel how to identify and contain a

               breach when it occurs and what to do in response to a breach;

            i. Ordering Defendant to implement and enforce adequate retention policies for

               PII, including destroying, in a reasonably secure manner, PII once it is no longer

               necessary for it to be retained; and

            j. Ordering Defendant to meaningfully educate its current, former, and

               prospective employees and subcontractors about the threats they face as a result


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                 of the loss of their financial and personal information to third parties, as well as

                 the steps they must take to protect themselves.

                               VIII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs and the Class pray for judgment against Defendant as follows:

             a. An order certifying this action as a class action under Fed. R. Civ. P. 23,

                 defining the Class as requested herein, appointing the undersigned as Class

                 counsel, and finding that Plaintiffs are proper representatives of the Class

                 requested herein;

             b. A judgment in favor of Plaintiffs and the Class awarding them appropriate

                 monetary relief, including compensatory damages, punitive damages, attorney

                 fees, expenses, costs, and such other and further relief as is just and proper;

             c. An order providing injunctive and other equitable relief as necessary to

                 protect the interests of the Class as requested herein;

             d. An order requiring Defendant to pay the costs involved in notifying the Class

                 Members about the judgment and administering the claims process;

             e. A judgment in favor of Plaintiffs and the Class awarding them pre-judgment

                 and post-judgment interest, reasonable attorneys’ fees, costs and expenses as

                 allowable by law; and

             f. An award of such other and further relief as this Court may deem just and

                 proper.



                           IX.       DEMAND FOR JURY TRIAL

      Plaintiffs hereby demand a trial by jury on all appropriate issues raised in this Class Action

Complaint.




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Dated: May 5, 2022                       Respectfully submitted,

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